
Ch. Justice.
Wo notice of the taking an affidavit, to prove the absence of a witness out of the state, to found an application *63ibr a commission need be given, to authorise the reading of the affidavit on the application. It does not stand on the same ground as an application to change the venue. The affidavit may be read.
Elmer, then objected, that the granting of the commission would delay the cause beyond the next circuit, which would be held before the commission could be returned to this court to be opened.
Ch. Justice. The commission may be opened by the judge in vacation ; and it is not necessary that it should be returned to the Supreme Court to be opened.
An order for the issuing of the commission of itself, stays the proceedings, unless there is something in the older, authorising the suit to proceed in the mean time,
